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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                      )             COURT MINUTES - CRIMINAL
                                               )                BEFORE: DOUGLAS L. MICKO
                        Plaintiff,             )                    U.S. Magistrate Judge
                                               )
 v.                                            )    Case No:               25-mj-376 JFD
                                               )    Date:                  July 3, 2025
Vance Luther Boelter,                          )    Court Reporter:        Lynne Krenz
                                               )    Courthouse:            St. Paul
                        Defendant.             )    Courtroom:             Devitt Courtroom
                                               )    Time Commenced:        2:28 p.m.
                                               )    Time Concluded:        2:35 p.m.
                                               )    Time in Court:         7 minutes


X PRELIMINARY HEARING                    X DETENTION HEARING
         Time in Court Prelim/Detention: 3 minutes/4 minutes

APPEARANCES:
 Plaintiff: Bradley Endicott, Daniel Bobier, Harry Jacobs, Matthew Forbes - Assistant U.S. Attorneys
 Defendant: Manny Atwal
                 X FPD


On    X Complaint

X Defendant waives the right to the detention hearing.
X Defendant Ordered Detained. Government to submit proposed order.

X Defendant waives the right to the preliminary hearing.
X Probable cause found. Defendant bound over to District Court of Minnesota.



                                                                                                        s/nah
                                                                                Signature of Courtroom Deputy
